Case 3:17-cv-00072-NKM-JCH Document 578 Filed 10/21/19 Page1lof1 Pageid#: 7169

 

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INFORMATION: Robert Cahill (Counsel for Plaintiffs) 703-456-8145
DATE OF REQUEST EMAIL ADDRESS (Transcript will be emailed to this address.)
10/21/2019 rcahill@cooley.com; ebolton@cooley.com
MAILING ADDRESS CITY, STATE, ZIP CODE
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CASE NUMBER CASE NAME JUDGE’S NAME
3:17-cv-00072 Sines, et al. v. Kessler, et al. Joel C. Hoppe
DATE(S) OF TYPE OF PROCEEDING(S) LOCATION OF PROCEEDING
PROCEEDING(S)
10/18/2019 Telephonic status hearing Charlottesville, VA
REQUEST IS FOR: (Select one) [7] FULLPROCEEDING OR SPECIFIC PORTION(S) (Must specify below)

 

 

 

 

 

 

SPECIFIC PORTION(S) REQUESTED (If applicable):

 

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(See Page 2 for descriptions of each service turnaround category.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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